                                         Case 4:21-cv-04457-KAW Document 109 Filed 10/02/23 Page 1 of 1




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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

                                   6                                       OAKLAND DIVISION

                                   7

                                   8     ETTA JOHNSON,                                   Case No. 20-cv-08283-DMR (KAW)
                                                       Plaintiff,
                                   9
                                                                                         CLERK'S NOTICE SETTING PRE-
                                                 v.                                      SETTLEMENT TELEPHONIC
                                  10
                                                                                         SCHEDULING CONFERENCE
                                  11     ALAMEDA COUNTY SHERIFF'S
                                         DEPARTMENT ARRESTING DEPUTY
                                  12     #1, et al.,
Northern District of California
 United States District Court




                                                       Defendants.
                                  13
                                              This matter has been assigned to Magistrate Judge Kandis Westmore for settlement. Judge
                                  14
                                       Westmore will hold a pre-settlement telephonic scheduling conference on October 6, 2023, at
                                  15
                                       10:00 A.M. The conference should last approximately one-half hour. The following information
                                  16   will be needed for the pre-settlement telephonic scheduling conference before Judge Westmore:
                                  17

                                  18   Call in number: (877) 873-8018

                                  19   Access code:       5279114

                                  20

                                  21   Dated: October 2, 2023
                                                                                      Mark B. Busby
                                  22
                                                                                      Clerk, United States District Court
                                  23
                                                                                      By: ________________________
                                  24                                                  William F. Tabunut, Deputy Clerk to the
                                                                                      Honorable Kandis A. Westmore
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